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                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF MAINE


FRANK INMAN,                                 )
                                             )
        Plaintiff                            )
                                             )
                v.                           )       2:15-cv-00267-JAW
                                             )
LARRY AUSTIN, et als.                        )
                                             )
        Defendants                           )


                                           ANSWER

        The defendants, by their attorney, answer the Complaint as follows:

        1. Paragraph 1 of the Complaint states conclusions of law and a summary of plaintiff’s

claims, and no answer is required.

        2. Paragraph 2 of the Complaint states a conclusion of law, and no answer is required.

        3. Defendants deny the allegations of Paragraph 3 of the Complaint.

        4. Defendants admit that defendant Fitzpatrick is the Commissioner of the Maine

Department of Corrections. The remainder of Paragraph 4 of the Complaint states conclusions

of law, and no answer is required.

        5. Defendants admit that defendant McCaffrey is the classification officer for the

Department of Corrections. The remainder of Paragraph 5 of the Complaint states legal

conclusions, and no answer is required.

        6. Defendants admit that defendant Landry is the warden of the Maine Correctional

Center. The remainder of Paragraph 6 of the Complaint states conclusions of law, and no answer

is required.



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        7. Defendants admit that defendant Monahan is a Unit Manager at the Maine

Correctional Center. The remainder of Paragraph 7 of the Complaint states legal conclusions,

and no answer is required.

        8. Assuming that plaintiff is referring to defendant Austin (and not “Larry Scott” as

stated in Paragraph 8 of the Complaint), defendants deny the allegation in Paragraph 8 of the

Complaint. The remainder of Paragraph 8 states a conclusion of law, and no answer is required.

        9. Defendants admit that defendant Scott is a caseworker at CCF. The remainder of

Paragraph 9 of the Complaint states a legal conclusion, and no answer is required.

        10. Paragraph 10 of the Complaint states legal assertions or conclusions, and no answer

is required.

        (There are no Paragraphs 11 – 13 in the Complaint)

        14. Defendants deny that plaintiff exhausted available administrative remedies regarding

his claims of retaliation, infliction of emotional distress and defamation.

        15. – 16. Paragraphs 15 – 16 of the Complaint state legal assertions or conclusions and

no answer is required.

        17. – 23. Paragraphs 17 – 23 of the Complaint state prayers for relief, and no answer is

required.

        In response to the unnumbered paragraphs on Pages 5 through 8 of the Complaint,

defendants note that the allegations regarding alleged retaliation against the plaintiff appear to be

contained primarily on Page 8, most of which is illegible. Defendants generally deny that any

action taken with regard to plaintiff’s transfer or classification was done in retaliation for

plaintiff’s exercise of his First Amendment or other constitutional rights. Defendants further

deny that they defamed the plaintiff or intentionally or negligently inflicted emotional distress.



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       WHEREFORE, defendants request that judgment be entered in their favor and that they

be awarded their costs and attorney fees.



                                    AFFIRMATIVE DEFENSES

       1. The Complaint fails to state a claim upon which relief can be granted as to any

defendant.

       2. Plaintiff’s claims are barred by his failure to exhaust available administrative

remedies.

       3. Plaintiff’s claims for injunctive and declaratory relief are moot.

       4. Plaintiff’s claims for damages for emotional and mental distress are barred by his

failure to allege any physical injury resulting from defendants’ actions.

       5. Plaintiff’s claim for punitive damages is barred by the prospective relief provisions of

the Prison Litigation Reform Act.

       6. Plaintiff’s claims of defamation and infliction of emotional distress are barred by his

failure to comply with the notice provisions of the Maine Tort Claims Act.

       7. As to plaintiff’s claims of defamation and infliction of emotional distress, defendants

have discretionary immunity.



January 27, 2016                                      __/s/ James E. Fortin___
                                                      James E. Fortin
                                                      Assistant Attorney General
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                                      Certificate of Service

        The undersigned hereby certifies that he electronically filed the above document with the
Clerk of Court using the CM/ECF system, which will serve a copy on all counsel of record, and
that he mailed a copy, postage paid, to the plaintiff at the following address:

Frank Inman
Penobscot County Jail
85 Hammond St,
Bangor, ME 04401


January 27, 2016                                    /s/ James E. Fortin
                                                    James E. Fortin
                                                    Assistant Attorney General




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